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OLF 2A (Official Local Form 2A)

                                  UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MASSACHUSETTS



 In re                                                               Chapter 13
JOHN MALONE                                                          Case No. 24‐10885

                             Debtor


                 NOTICE OF INTENDED PRIVATE SALE OF PROPERTY, SOLICITATION OF
                  COUNTEROFFERS, DEADLINE FOR SUBMITTING OBJECTIONS AND
                            HIGHER OFFERS AND HEARING DATE


January 23, 2025 or by order of Court                 IS THE DATE OF THE PROPOSED SALE

January 27, 2025 at 12:00 p.m.                        IS THE DATE BY WHICH OBJECTIONS OR
                                                      COUNTEROFFERS MUST BE MADE


 NOTICE IS HEREBY GIVEN, pursuant to 11 U.S.C. § 363, Fed. R. Bankr. P. 2002(a)(2) and 6004,
 and MLBR 2002‐5 and 6004‐1, that the trustee (or, where applicable, the debtor), intends to
 sell at private sale the debtor's right, title and interest in certain property of the estate.

 PROPERTY TO BE SOLD:
 (General description)

 26 Savin Hill Avenue Dorchester, MA ("Property").

 An itemized list of the property to be sold is attached to this Notice.

 THE OFFER:

 $240,000.00, and in addition, the buyer agreeing to grant use and occupancy of Unit #3 of 26
 Savin Hill Avenue Dorchester, MA to Mr. Malone for the duration of his life at no cost.

 The trustee (or where applicable, the debtor) has received an offer to purchase the property for
 the sum of Two‐Hundred Forty Dollars & use and occupancy ($240,000.00 ) in cash (or state
 other consideration).

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THE PROPOSED BUYER:

The proposed buyer is Janyuzak Almazbek, of 42 Summer Street, West Roxbury, MA 02132. The
relationship of the proposed buyer to the debtor (or trustee, if applicable) is: Proposed Purchaser

THE SALE DATE:

The sale shall take place on or before January 23, 2025, or under Order of the Court . The
proposed buyer has paid a deposit in the sum of $5,000.00. The terms of the proposed sale are
more particularly described in a Motion for Order Authorizing and Approving Private Sale of
Property of the Estate (the "Motion to Approve Sale") filed with the Court on 01/02/2025 and a
written purchase and sale agreement dated 12/17/2024. The Motion to Approve Sale and the
purchase and sale agreement are available at no charge upon request from the undersigned.

SALE FREE AND CLEAR OF LIENS:

The Property will be sold free and clear of all liens, claims and encumbrances. Any perfected,
enforceable valid liens shall attach to the proceeds of the sale according to priorities established under
applicable law.

COUNTEROFFERS OR OBJECTIONS:

Any objections to the sale and/or higher offers must be filed in writing with the Clerk, United
States Bankruptcy Court, John W. McCormack Post Office and Court House, 5 Post Office Square,
Boston, Massachusetts 02109 on or before January 27, 2025 at 12:00 p.m. (the "Objection
Deadline"). A copy of any objection or higher offer also shall be served upon the undersigned.
Any objection to the sale must state with particularity the grounds for the objection and why the
intended sale should not be authorized. Any objection to the sale shall be governed by Fed. R.
Bankr. P. 9014.

Through this Notice, higher offers for the Property are hereby solicited. Any higher offer must be
accompanied by a cash deposit of $5,000.00 in the form of a certified or bank check made
payable to the undersigned. Higher offers must be on the same terms and conditions provided in
the Purchase and Sale Agreement, other than the purchase price. The Court will also consider
higher offers for the entire fee interest of the Debtor with respect to the Property.

HEARING:

A hearing on the Motion to Approve Sale, objections or higher offers is scheduled to take place
on January 28, 2025 at 3:00 p.m. before the Honorable Christopher J. Panos, United States
Bankruptcy Judge, Courtroom 3, Harold Donohue Federal Building and Courthouse, 595 Main
Street, Worcester, Massachusetts 01608, with an option to appear by Zoom video (except that at
least one representative of each respective bidder, both with respect to the original offeror and
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any competing offerors, who should appear in person). To obtain the video access information
for the hybrid hearing, parties in interest must email the Courtroom Deputy at
cjp_courtroom_deputy@mab.uscourts.gov by January 27, 2025 at 4:30 p.m., providing the
contact information for the party seeking to appear by video. Any party who has filed an
objection or higher offer is expected to be present at the hearing, failing which the objection
may be overruled or the higher offer stricken. The Court may take evidence at any hearing on
approval of the sale to resolve issues of fact. If no objection to the Motion to Approve Sale or
higher offer is timely filed, the Court, in its discretion, may cancel the scheduled hearing and
approve the sale without a hearing.

At the hearing on the sale the Court may 1) consider any requests to strike a higher offer, 2)
determine further terms and conditions of the sale, 3) determine the requirements for further
competitive bidding, and 4) require one or more rounds of sealed or open bids from the original
offeror and any other qualifying offeror.

DEPOSIT:

The deposit will be forfeited to the estate if the successful purchaser fails to complete the sale
by the date ordered by the Court. If the sale is not completed by the buyer approved by the
Court, the Court, without further hearing, may approve the sale of the Property to the next
highest bidder.

Any questions concerning the intended sale shall be addressed to the undersigned.

                                             Respectfully Submitted,
                                             Debtor

                                             By JOHN MALONE, by his Attorney



 Dated: January    , 2025
                                             /s/ Glenn F. Russell, Jr.
                                             Printed Name Glenn F. Russell, Jr.
                                             Address        38 Rock Street, Fall River, MA 02720
                                             BBO#           656914
                                             Telephone      (888) 400‐9318
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